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UNITED STATES DISTRICT COURT
DISTRICT OF DELAWARE


    UNITED STATES OF AMERICA,
                                                                   23-mj-274-MN
                                       Plaintiff,
           - against -
                                                                   DECLARATION OF
                                                                   JESSICA BENGELS
    ROBERT HUNTER BIDEN,

                                       Defendant.



         I, Jessica L. Bengels, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, as

follows:

         1.      I am a staff member at the law firm of Latham & Watkins LLP, 1271 Avenue of

the Americas, New York, New York, and am a member in good standing of the bar of the State

of New York. I submit this declaration in response to the Court Order of July 25, 2023.

         2.      I have worked at Latham & Watkins LLP for more than 18 years (since March 9,

2005). My current title at Latham is Director of Litigation Services, Litigation Services Counsel,

and part of my role is to help attorneys comply with court and judges’ rules and e-filing protocol,

with a focus on New York procedure. My name, contact information, and biographical

information are publicly available on Latham’s web site and attached as Exhibit 1.1

         3.      To date, I have not had any personal involvement in this case other than assisting

the attorneys in this case with e-filing protocols and basic docket research.

         4.      On July 25, 2023 at around 11:42 a.m., at the request of one of the Latham

attorneys handling this matter, I called the number listed on the Court’s CM/ECF Manual



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    https://www.lw.com/en/people/jessica-bengels
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